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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

 UNITED STATES OF AMERICA,                        )   CASE NO.: 1:21CR226
                                                  )
                Plaintiff,                        )   JUDGE PAMELA A. BARKER
                                                  )
        v.                                        )
                                                  )   ORDER
 DAVIS LU,                                        )
                                                  )
                Defendant.                        )


       This matter comes before the Court pursuant to a Motion by the United States under Rule

17(c) of the Federal Rules of Criminal Procedure, requesting that the Court issue an Order

permitting the issuance of an early production subpoena to Archive.org. It is hereby ORDERED

that the Application is GRANTED.

       The Court hereby permits the government to issue and serve the original subpoena to

Archive.org for the production of certain records, per Rule 17(c) of the Federal Rules of

Criminal Procedure. Furthermore, the Court orders the subpoena be made returnable to the

United States Attorney’s Office on or before 11/22/2024. The Court further orders the

government to disclose any documents or information provided in response to said subpoena

promptly to defense counsel.


                                                      PAMELA A. BARKER
                                                      UNITED STATES DISTRICT JUDGE


                                                      DATE
